10                                   Case 16-12245-BFK            Doc 97      Filed 12/06/18 Entered 12/06/18 12:01:20                           Desc
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                               UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: ROGER MALDONADO                                                                                Case No.: 16-12245-BFK
       LESLIE YESSENIA MALDONADO
               Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Thomas P. Gorman, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 06/29/2016 and was converted to chapter 13 on 12/22/2016.
2) The plan was confirmed on 03/27/2017.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 08/23/2018.
5) The case was converted on 11/19/2018.
6) Number of months from filing or conversion to last payment: 24.
7) Number of months case was pending: 24.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All Checks distributed by the trustee relating to this case have not cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:           $11,631.03
       Less amount refunded to debtor:                     $1,033.38
 NET RECEIPTS:                                                                $10,597.65

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                $2,250.50
       Court Costs:                                                                $.00
       Trustee Expenses and Compensation:                                    $2,651.92
       Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                              $4,902.42

 Attorney fees paid and disclosed by debtor:                   $.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim            Claim         Principal            Interest
Name                                        Class            Scheduled         Asserted         Allowed       Paid                 Paid
ALLIED COLL                                 Unsecured                   NA           NA              NA               .00                 .00
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                          UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF VIRGINIA
                                           ALEXANDRIA DIVISION

In re: ROGER MALDONADO                                                         Case No.: 16-12245-BFK
       LESLIE YESSENIA MALDONADO
               Debtor(s)

                CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
ALLIED COLL                        Unsecured           NA         NA          NA             .00                 .00
AMERICAN EXPRESS BANK, FSB         Unsecured      1,756.00   1,756.63    1,756.63            .00                 .00
AMERICAN EXPRESS BANK, FSB         Unsecured           NA    1,756.63    1,756.63            .00                 .00
AMERICAN HONDA FINANCE CORP        Unsecured           NA         NA          NA             .00                 .00
AMEX                               Unsecured           NA         NA          NA             .00                 .00
APPLE FEDERAL CREDIT UNION         Unsecured      4,969.00        NA          NA             .00                 .00
APPLE FEDERAL CREDIT UNION         Unsecured           NA         NA          NA             .00                 .00
BANK OF AMERICA                    Unsecured      1,432.00        NA          NA             .00                 .00
BARCLAYS BANK DELAWARE             Unsecured      2,585.00        NA          NA             .00                 .00
BB&T                               Unsecured           NA         NA          NA             .00                 .00
BIO REFERENCE                      Unsecured          7.00        NA          NA             .00                 .00
BISON RECOVERY GROUP               Unsecured       625.00         NA          NA             .00                 .00
BRANCH BANKING & TRUST COMPANY Unsecured          5,352.00   5,409.62    5,409.62      1,439.24                  .00
CAPITAL ONE                        Unsecured           NA         NA          NA             .00                 .00
CAPITAL ONE                        Unsecured           NA         NA          NA             .00                 .00
CCS                                Unsecured        31.00         NA          NA             .00                 .00
CHASE BANK                         Unsecured      4,135.00        NA          NA             .00                 .00
CHILDREN`S NATIONAL MEDICAL        Unsecured        26.00         NA          NA             .00                 .00
COMENITYCAPITAL/DVDSBR             Unsecured           NA         NA          NA             .00                 .00
DEPT OF ED/SALLIE MAE              Unsecured           NA         NA          NA             .00                 .00
DHP OF POTOMAC                     Unsecured        83.00         NA          NA             .00                 .00
FAIRFAX OB/GYN ASSOC., PC          Unsecured        20.00         NA          NA             .00                 .00
INOVA                              Unsecured        15.00         NA          NA             .00                 .00
INOVA                              Unsecured       105.00         NA          NA             .00                 .00
INOVA/AMCB                         Unsecured       105.00         NA          NA             .00                 .00
KAY JEWELERS                       Unsecured           NA         NA          NA             .00                 .00
LES LLC                            Unsecured       322.00         NA          NA             .00                 .00
MIDLAND FUNDING                    Unsecured      1,350.00        NA          NA             .00                 .00
MIDLAND FUNDING LLC                Unsecured           NA    1,350.43    1,350.43            .00                 .00
NATIONWIDE CREDIT CORP.            Unsecured       552.00         NA          NA             .00                 .00
PHOENIX FINANCIAL SERV             Unsecured        55.00         NA          NA             .00                 .00
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                         UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF VIRGINIA
                                               ALEXANDRIA DIVISION

In re: ROGER MALDONADO                                                             Case No.: 16-12245-BFK
       LESLIE YESSENIA MALDONADO
               Debtor(s)

                 CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                           Claim         Claim       Claim        Principal           Interest
Name                               Class           Scheduled     Asserted    Allowed      Paid                Paid
PHOENIX FINANCIAL SERVICES         Unsecured           113.00          NA         NA             .00                 .00
PRIMEIRA MEDICAL GROUP             Unsecured            20.00          NA         NA             .00                 .00
QUANTUM3 GROUP LLC                 Unsecured          1,123.00   1,123.76    1,123.76            .00                 .00
SENTARA HEALTH CARE                Unsecured          1,421.00         NA         NA             .00                 .00
SLM FINANCIAL CORP                 Unsecured               NA          NA         NA             .00                 .00
SN SERVICING CORPORATION           Secured            3,000.00   3,018.57    3,018.57      3,018.57                  .00
SYNCB/ CARE CREDIT                 Unsecured               NA          NA         NA             .00                 .00
SYNCB/CAR CARE ONE                 Unsecured               NA          NA         NA             .00                 .00
SYNCHRONY BANK                     Unsecured           324.00      324.30     324.30             .00                 .00
TOYOTA CREDIT CORPORATION          Secured             837.42    1,237.42    1,237.42      1,237.42                  .00
TOYOTA CREDIT CORPORATION          Secured                 NA    11,794.69        .00            .00                 .00




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                                UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: ROGER MALDONADO                                                                                  Case No.: 16-12245-BFK
       LESLIE YESSENIA MALDONADO
               Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim          Claim         Principal            Interest
Name                                        Class             Scheduled           Asserted       Allowed       Paid                 Paid
WHIPPLE TREE EMERG PHYS LLC                 Unsecured              202.00              NA               NA             .00                 .00

 Summary of Disbursements to Creditors:                                                          Claim         Principal            Interest
                                                                                                 Allowed       Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                               .00             .00                   .00
     Mortgage Arrearage:                                                                        3,018.57        3,018.57                   .00
     Debt Secured by Vehicle:                                                                   1,237.42        1,237.42                   .00
     All Other Secured:                                                                              .00             .00                   .00
 TOTAL SECURED:                                                                                 4,255.99        4,255.99                   .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00            .00                 .00
     Domestic Support Ongoing:                                                                          .00            .00                 .00
     All Other Priority:                                                                                .00            .00                 .00
 TOTAL PRIORITY:                                                                                        .00            .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                   11,721.37        1,439.24                   .00

 Disbursements:
        Expenses of Administration:                                                            $4,902.42
        Disbursements to Creditors:                                                            $5,695.23
 TOTAL DISBURSEMENTS:                                                                                                            $10,597.65

     12) The trustee certifies that the foregoing summary is true and complete and all administrative matters for which the trustee is
     responsible have been completed. The trustee requests that the trustee be discharged and granted such other relief as may be just
     and proper.


                  Date:   12/06/2018                                        By:   /s/Thomas P. Gorman
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.


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